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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


   AARON SIEGEL, JASON COOK,       Hon. Renée Marie Bumb, U.S.D.J.
   JOSEPH DELUCA, NICOLE CUOZZO,   Hon. Ann Marie Donio, U.S.M.J.
   TIMOTHY VARGA, CHRISTOPHER
   STAMOS, KIM HENRY, AND          Docket No. 22-CV-7463
   ASSOCIATION OF NEW JERSEY RIFLE
   AND PISTOL CLUBS, INC.,

        Plaintiffs,

   v.

   MATTHEW J. PLATKIN, in his official
   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,

        Defendants.



   RONALD KOONS; NICHOLAS                          Hon. Reéne Marie Bumb, U.S.D.J.
   GAUDIO; JEFFREY M. MULLER; GIL                  Hon. Ann Marie Donio, U.S.M.J.
   TAL; SECOND AMENDMENT
   FOUNDATION; FIREARMS POLICY                     Docket No. 22-CV-7464
   COALITION, INC.; COALITION OF
   NEW JERSEY FIREARM OWNERS; and
                                                         [PROPOSED] ORDER
   NEW JERSEY SECOND AMENDMENT
   SOCIETY,
   Plaintiffs,
   v.
   MATTHEW J. PLATKIN, in his official
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   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,
   Defendants.



        This matter having come before the Court on a Motion to File an Overlength

  Brief by Defendants Matthew J. Platkin, Attorney General of New Jersey and

  Patrick Callahan, Superintendent of the New Jersey State Police; and the Court

  having considered the papers submitted herein, this matter being decided under

  Local Civil Rule 7.2(b), and for good cause shown;




        It is on this __________ day of ______________, 2023

        ORDERED that the Motion to File an Overlength Brief is GRANTED.




                                         RENÉE MARIE BUMB, U.S.D.J.
